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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                    Northern District
                                                  __________  DistrictofofCalifornia
                                                                           __________

                  United States of America                         )
                             v.                                    )
                                                                   )      Case No.
                           Xin Wang                                )                  3:20-mj-70720-MAG
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                    March 26, 2019              in the county of           San Francisco          in the
     Northern          District of            California       , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. § 1546(a)                             Fraud and misuse of visas, permits, and other documents




         This criminal complaint is based on these facts:

See Affidavit.




         ✔ Continued on the attached sheet.
         ’

                                                                                               /s Patrick Fogerty
                                                                                              Complainant’s signature

                                                                                      FBI Special Agent Patrick Fogerty
                                                                                               Printed name and title

Sworn to before me and signed in my presence.


Date:             06/07/2020
                                                                                                 Judge’s signature

City and state:                         San Francisco, CA                            Laurel Beeler, U.S. Magistrate Judge
                                                                                               Printed name and title
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       AFFIDAVIT PRESENTED IN SUPPORT FOR A CRIMINAL COMPLAINT
       I, Patrick Fogerty, Special Agent of the Federal Bureau of Investigation (“FBI”), being
duly sworn, hereby declare as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      This affidavit is presented in support of a criminal complaint charging WANG
XIN (“Wang”) with the crime of visa fraud, in violation of Title 18, United States Code, Section
1546(a).
       2.      I am an “investigative or law enforcement officer of the United States” within the
meaning of Section 2510(7) of Title 18, United States Code, that is, an officer of the United
States who is empowered by law to conduct investigations of, and to make arrests for, offenses
enumerated in Title 18, United States Code, Section 1546.
       3.      I have been employed as a Special Agent of the FBI since January 2019 and am
currently assigned to the San Francisco Division. In my capacity as a Special Agent, I have
received training in, and my duties include the investigation of, violations of federal criminal
law, including matters related to acting as an illegal agent of a foreign government and
counterintelligence-related offenses.
       4.      The facts set forth in this affidavit are based upon the following: my own
investigation; information obtained from other law enforcement agencies; my review of
documents and records related to this investigation; oral and written communications with others
who have personal knowledge of the events and circumstances described herein; review of
public information, including information available on the Internet; and my experience and
background as a Special Agent of the FBI. Because this affidavit is being submitted for the
limited purpose of securing a criminal complaint, I have not included every fact known to me
concerning this investigation. I have set forth only the facts that I believe are necessary to
establish probable cause to believe that violations of U.S. law occurred. Also, where I refer to
conversations and events, I often refer to them in substance and in relevant part rather than in
their entirety or verbatim, and figures and calculations set forth in this affidavit are approximate,
unless otherwise noted.




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                                   APPLICABLE STATUTE

       5.     The FBI is investigating alleged violations of Title 18, United States Code,
1546(a), Fraud and Misuse of Visas, Permits, and Other Documents, which states in part:
       Whoever knowingly forges, counterfeits, alters, or falsely makes any immigrant
       or nonimmigrant visa, permit, border crossing card, alien registration receipt card,
       or other document prescribed by statute or regulation for entry into or as evidence
       of authorized stay or employment in the United States, or utters, uses, attempts to
       use, possesses, obtains, accepts, or receives any such visa, permit, border crossing
       card, alien registration receipt card, or other document prescribed by statute or
       regulation for entry into or as evidence of authorized stay or employment in the
       United States, knowing it to be forged, counterfeited, altered, or falsely made, or
       to have been procured by means of any false claim or statement, or to have been
       otherwise procured by fraud or unlawfully obtained; or . . .

       Whoever knowingly makes under oath, or as permitted under penalty of perjury
       under section 1746 of title 28, United States Code, knowingly subscribes as true,
       any false statement with respect to a material fact in any application, affidavit, or
       other document required by the immigration laws or regulations prescribed
       thereunder, or knowingly presents any such application, affidavit, or other
       document which contains any such false statement or which fails to contain any
       reasonable basis in law or fact—

       Shall be fined under this title or imprisoned not more than 25 years (if the offense
       was committed to facilitate an act of international terrorism (as defined in section
       2331 of this title)), 20 years (if the offense was committed to facilitate a drug
       trafficking crime (as defined in section 929(a) of this title)), 10 years (in the case
       of the first or second such offense, if the offense was not committed to facilitate
       such an act of international terrorism or a drug trafficking crime), or 15 years (in
       the case of any other offense), or both.




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                         FACTS SUPPORTING PROBABLE CAUSE

       6.      Based upon the information below, my training and experience, and the training
and experience of agents and investigators involved in this investigation, I believe that there is
probable cause to believe that Wang committed the crime of visa fraud in violation of Title 18,
United States Code, Section 1546(a), when he submitted a visa application containing false
statements and then entered the United States on the visa issued as a result of that application.
       7.      WANG was issued a multiple entry J1 non-immigrant visa on December 17,
2018. The visa application stated that he was employed by the Air Force Military University and
the purpose of his visit was to conduct research at the University of California, San Francisco
(UCSF). In his visa application, he stated that he had previously served as an Associate Professor
in Medicine in the Chinese Army, also known as the People’s Liberation Army (PLA). His listed
dates of service for the army were from September 1, 2002 through September 1, 2016. On
March 26, 2019, WANG entered the United States through San Francisco International Airport.
       8.      On June 7, 2020, WANG was interviewed by Customs and Border Protection
(CBP) at the Los Angeles International Airport upon at attempt to depart the United States for
Tianjin, China. During this interview, he stated that he was currently a “Level 9” technician
within the PLA, had received a scholarship from the China Scholarship Council and had received
a stipend from the PLA while he was studying in the United States. In addition, WANG stated
that he intentionally made false statements about his military service in his visa application in
order to increase the likelihood that he would receive his J1 visa.
       9.      Based upon the foregoing, my training and experience, and the training and
experience of agents and investigators involved in this investigation, I believe that there is
probable cause to believe that WANG has committed the crime of fraud and misuse of visas in
violation of Title 18, United States Code Section 1546(a).
                                     REQUEST FOR SEALING
       10.     Because this investigation is continuing, disclosure of the Complaint, this
affidavit, and/or this application will jeopardize the progress of the investigation. Disclosure of
the Complaint at this time would seriously jeopardize the investigation; as such, a disclosure
would give the target an opportunity to destroy evidence, change patterns of behavior, notify
confederates, or flee from prosecution. Accordingly, I request that the Court issue an order that



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the Complaint and this affidavit in support of application for the Complaint, be filed under seal
until further order of this Court.



                                                             /s Patrick Fogerty
                                                             _________________________
                                                             Patrick Fogerty
                                                             Special Agent
                                                             Federal Bureau of Investigation

Sworn to before me this 7th day of June, 2020.



_____________________________________
HONORABLE LAUREL BEELER
United States Magistrate Judge




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